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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

In Re:                                               Case No.: 6:14-bk-00034-CCJ
         Gildharee Persaud
         Bhagwatie Persaud                           Chapter 13

      Debtors
________________________________/

___   __    CHAPTER 13 PLAN                          __X___ AMENDED CHAPTER 13 PLAN

       COME NOW, the Debtors, Gildharee Persaud and Bhagwatie Persaud, and file this 3rd
Amended Chapter 13 Plan. The projected disposable income of the Debtors is submitted to the
supervision and control of the Chapter 13 Standing Trustee, and the Debtors shall pay the
following sums to the Chapter 13 Standing Trustee:

                                     PLAN PAYMENTS

Payment Number by months________________________Amount of Monthly Plan payment

1 -- 5     (February 2014 – June 2014)                                     $ 3,180.00
6 -- 23    (July 2014 – December 2015)                                     $ 1,920.00
24         (January 2016)                                                  $ 221,260.00
25 – 60    (February 2016 – January 2019)                                  $ 1,920.00

        The Debtors shall pay by money order, cashier’s check or wage deduction, to Laurie K.
Weatherford, Chapter 13 Standing Trustee, P.O. Box 1103, Memphis, Tennessee 38101-1103.
The Debtor’s name and case number must be indicated clearly thereon and received by the due
dates for payments established by court order.

                      PAYMENT OF CLAIMS THROUGH THE PLAN

ATTORNEY FEES:

                             Claim                             Payment     Payment      Total of
      Name of Creditor                 Claim Amount
                               #                               Amount      Numbers     Payments
                                                               $100.00        1-4
                                                                $90.00         5
Debtor Attorney                             $4,000.00                                  $4,000.00
                                                               $110.00       6-36
                                                               $100.00        37
Mediation Fee                                $350.00            $87.50        1-4         $350.00

PRIORITY CLAIMS: The fees and expenses of the Trustee shall be paid over the life of the
Plan at the rate allowed as governed by the guidelines of the United States Trustee and:

                             Claim                             Payment    Payment       Total of
      Name of Creditor
                               #       Claim Amount            Amount     Numbers      Payments
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SECURED CLAIMS:

                             Claim                         Payment     Payment       Total of
    Name of Creditor           #     Claim Amount          Amount      Numbers      Payments
                                                           $490.00         7
Marion Co. 13 & 14 Taxes               $3,079.82           $210.00         8
                              4                                                     $3,742.19
1 Bahia                                 @ 18%               $91.45       9-23
                                                           $835.22      25-26
                                                           $275.00       1-4
World Omni                             $17,851.16          $364.83         5
                              12                                                    $20,335.20
2012 Toyota Sienna                      @ 5.25%            $343.10       6-59
                                                           $342.97        60
Multibank/Roundpoint
12 Pine Track Trail
                              14                          $1,127.60       1-5       $5,638.00
(Order Granting Loan
Mod-Doc. No. 49)

SECURED ARREARAGE:

                             Claim                       Payment      Payment        Total of
    Name of Creditor           #     Claim Amount        Amount       Numbers       Payments
                                           $                $                           $

SECURED GAP PAYMENTS:

                             Claim                       Payment      Payment        Total of
    Name of Creditor           #     Claim Amount        Amount       Numbers       Payments
                                           $                $                           $

PROPERTY TO BE SURRENDERED:

                             Claim
     Name of Creditor          #                        Property Description


VALUATION OF SECURITY:

                             Claim                        Payment       Payment       Total of
     Name of Creditor          #     Claim Amount         Amount        Numbers      Payments
                                                          $352.61          1-6
CitiMortgage
                                       $57,000.00         $201.21          7-8
3 Bahia Trace                  3                                                     $62,588.79
                                        @ 5.25%           $314.76         9-23
(Agreed Order Doc. No. 62)
                                                         $55,349.31        24
                                                          $492.32          1-6
Kondaur/Multibank
                                       $79,000.00         $155.84           7
1 Bahia Trace                  6                                                     $86,801.81
                                        @ 5.25%           $436.24         8-23
(Agreed Order Doc. No. 58)
                                                         $76,712.21        24
                                                          $425.79          1-8
Multi/Roundpoint
                                       $64,000.00         $136.27         9-10
10-12 NE 25th                 13                                                     $70,419.79
                                        @ 5.25%           $353.41        11-23
(Order Doc. No. 46)
                                                         $62,146.60        24

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EXECUTORY CONTRACTS:

The following Executory Contracts are assumed:

       Name of Creditor         Description of Collateral


The following Executory Contracts are rejected:

       Name of Creditor         Description of Collateral



UNSECURED CREDITORS whose claims are allowed shall receive a pro rata share of the
balance of the funds remaining after payments to Priority and Secured Creditors are made.
49.45% ($52,880.22).

Property of the Estate revests in the Debtors upon confirmation of the plan, or upon completion
of all plan payments and the discharge of Debtors.


                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing 3rd Amended Chapter 13
Plan has been served electronically, and when appropriate by regular United States Mail, to the
all creditors listed on the Court’s Matrix as attached, this 17th day of September, 2014.

                                                            /s/Gildharee Persaud
                                                            Debtor Signature

                                                            /s/Bhagwatie Persaud
                                                            Debtor Signature


                                                            /s/ JOEL L. GROSS, ESQ.
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